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Unites States Court of Abpea: HENIH BCT

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No. 94-6823 and 94-7189

Non-Argument Calendar . MIGUEL 3, CORTEZ
D. C. Docket No. CR 94-00061 | .._ <
UNITED STATES OF AMERICA, __ = > -
plaintiff-Appeliee: we
versus = 5
DON LEONARD SCOTT, a
Defendant~Appeliant. “

Appeals from the United States District Court
for the Southern District of Alabama -

Before DUBINA and BARKETT, Circuit Judges, and KRAVITCH, Senior
Circuit Judge. °

JUDGMENT .

These causes came to be heard on the transcript of the record
-from the United States District Court for the Southern District of
Alabama, and were taken under submission by the Court upon the
record and briefs on file, pursuant to Eleventh Circuit Rule 34-3;

UPON CONSIDERATION WHEREOF, it is now hereby ordered and

adjudged by this Court that the sentence imposed by the said
District Court in these causes be and the same is hereby AFFIRMED.

Entered: April 21, 1997

For the Court:/Miguel J. Cortez, Clerk
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Deputy Clerk

ISSUED AS MANDATE: § /220/97

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FOR THE ELEVENTH CIRCUIT MIGUEL J.

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Nos. 94-6823, 94-7189 -— r
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Non-Argument Calendar - 3 F
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D. C. Docket No. CR 94-00061-CB
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UNITED STATES OF AMERICA, = = 57
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Plaintiff- Appellee,
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versus o
DON LEONARD SCOTT, Oo Zt =

Defendant-Appellant.

Appeals from the United States District Court
for the Southern District of Alabama

(April 21, 1997)
Before DUBINA and BARKETT, Circuit Judges, and KRAVITCH, Senior Circuit Judge.

PER CURIAM:

Don Leonard Scott appeals his 120-month sentence for conspiracy to possess with intent to
distribute crack cocaine. Scott argues that (1) he was entitled to a two-level reduction for acceptance
of responsibility under § 3£1.1; (2) he was entitled to an additional one-level reduction under
§ 3E1.1(b) because he provided substantial assistance and tendered his plea in a timely matter; (3)

his role in the conspiracy did not warrant an enhancement for being a manager; (4) the district court
Case 1:94-cr-00061-CB-C_Document 130 Filed 05/30/97 Page 3o0f3 PagelD #: 371

erred in sentencing him to 120 months’ imprisonment when compared to the 30-month sentence given
to his co-defendant, Eldridge: (5) the district court should have departed downward under § 5K2.0
because his conduct constituted aberrant behavior; and (6) the trial court failed to consider the
sentencing disparity between cocaine and crack cocaine.

We have reviewed the record and find no merit to Scott’s arguments on appeal.

AFFIRMED.

A True Copy - Attested:
Cierk, U.S. Court of Anpeats,
2 Eleventh Circuit

By: AZ, Lyette
Deputf Clerk
Atlanta, Georgia

